  Case 17-34659         Doc 36     Filed 04/01/19 Entered 04/01/19 10:34:01          Desc Main
                                     Document     Page 1 of 4


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION (Joliet)

 In Re:                                            Case No. 17-34659

 Karen N. Brownlow
                                                   Chapter 13

 Debtor(s).                                        Hon. Judge Pamela S. Hollis

NOTICE OF MOTION OF HOME POINT FINANCIAL CORPORATION TO MODIFY
    AUTOMATIC STAY AND FOR RELIEF FROM THE CO-DEBTOR STAY

VIA ELECTRONIC NOTICE:

          David M Siegel, David M. Siegel & Associates, 790 Chaddick Drive, Wheeling, IL
          60090

          Glenn B Stearns, 801 Warrenville Road Suite 650, Lisle, IL 60532

VIA U.S. MAIL:

          Karen N. Brownlow, Debtor
          5011 Brighton Ln.
          Plainfield, IL 60586

          John H. Brownlow
          5011 Brighton Ln.
          Plainfield, IL 60586
          (non-filing co-debtor)

PLEASE TAKE NOTICE that on April 1, 2019, we have electronically sent for filing with the
Clerk of the U.S. Bankruptcy Court, a Motion of HOME POINT FINANCIAL CORPORATION
to Modify Automatic Stay and for Relief from the Co-Debtor Stay, a copy of which is hereto
attached.

Please take notice that on April 1 2, 201 9 at 1 0:45 a.m., or as soon thereafter as counsel
may be heard, I shall appear before the Honorable Pamela S. Hollis in Joliet City Hall 150 West
Jefferson Street, 2nd Floor, Joliet, Illinois 60432, and then and there present the attached
Motion of HOME POINT FINANCIAL CORPORATION to Modify Automatic Stay and for
Relief from the Co-Debtor Stay, which has been electronically filed this date with the Clerk of the
U.S. Bankruptcy Court for the Northern District of Illinois, a copy of which is hereby served upon
you by electronic notice or U.S. Mail.
  Case 17-34659         Doc 36   Filed 04/01/19 Entered 04/01/19 10:34:01           Desc Main
                                   Document     Page 2 of 4




 Dated: April 1, 2019                             Respectfully Submitted,

                                                  /s/ Jon J. Lieberman
                                                  Jon J. Lieberman (OH 0058394)
                                                  Sottile & Barile, Attorneys at Law
                                                  P.O. Box 476
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Movant

                                 CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
the attached Motion upon the above-named parties by electronic filing or, as noted above, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on April 1,
2019, before the hour of 5:00 p.m.

                                                  /s/ Jon J. Lieberman
                                                  Jon J. Lieberman (OH 0058394)
                                                  Attorney for Movant
  Case 17-34659         Doc 36    Filed 04/01/19 Entered 04/01/19 10:34:01          Desc Main
                                    Document     Page 3 of 4


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION (Joliet)

 In Re:                                            Case No. 17-34659

 Karen N. Brownlow
                                                   Chapter 13

 Debtor(s).                                        Hon. Judge Pamela S. Hollis

          MOTION OF HOME POINT FINANCIAL CORPORATION TO MODIFY
          AUTOMATIC STAY AND FOR RELIEF FROM THE CO-DEBTOR STAY

          HOME POINT FINANCIAL CORPORATION (hereinafter, “Movant”), a secured

creditor herein, by its attorneys, the law firm of Sottile & Barile, LLC, respectfully requests

this Court, pursuant to Sections 362 and 1301 of the Bankruptcy Code, and such other Sections

and Rules as may apply, to enter an Order modifying the automatic stay and granting relief from

the co-debtor stay as to John H. Brownlow to allow Movant to pursue possession and sale of

its secured collateral. In support thereof, Movant states as follows:

          1. This Court has jurisdiction pursuant to 11 U.S.C. §§361, 362 and 363 of the United

             States Bankruptcy Code.

          2. On November 20, 2017, Karen N. Brownlow (“Debtor”) filed a Voluntary Petition for

             Relief under Chapter 13 of the Bankruptcy Code.

          3. On October 25, 2016, the Debtor did execute a certain Note in the amount of

             $220,095.00 (Exhibit A), secured by a Mortgage on the property commonly known

             as 5011 Brighton Lane, Plainfield, IL 60586 (Exhibit B).

          4. Enforcement of Movant’s security interest has been stayed automatically by

             operation of 11 U.S.C. § 362 of the Bankruptcy Code upon Debtor’s filing of this

             petition on November 20, 2017.
  Case 17-34659         Doc 36   Filed 04/01/19 Entered 04/01/19 10:34:01           Desc Main
                                   Document     Page 4 of 4


       5. The Debtor’s Amended Chapter 13 Plan confirmed on April 13, 2018, states the

           debtor is to make direct payments to the Movant.

       6. As of March 26, 2019, there remains due and owing on the Note and Mortgage

           referenced in paragraph three hereof, the unpaid principal balance of $210,504.75.

       7. The Debtor is delinquent on post-petition mortgage payments to Movant. As of

           March 26, 2019, the default was $3,902.67.

       8. Continuation of the automatic stay will cause irreparable harm to Movant and will

           deprive it of the adequate protection to which it is entitled.

       9. In addition to the Debtor, the following is a non-filing co-debtor who signed the

           Note or Mortgage and thus, relief from the co-debtor stay is also being sought: John

           H. Brownlow is listed on the Mortgage.

       10. This Court has authority to order that Rule 4001(a)(3) is waived to the order entered

           in granting this motion, and Movant requests this Court so order.

       WHEREFORE, Movant respectfully requests that this Court enter an Order, as attached

hereto, modifying the automatic stay and co-debtor stay provided by Section 362 and 1301 of the

Bankruptcy Code.


 Dated: April 1, 2019                              Respectfully Submitted,

                                                   /s/ Jon J. Lieberman
                                                   Jon J. Lieberman (OH 0058394)
                                                   Sottile & Barile, Attorneys at Law
                                                   P.O. Box 476
                                                   Loveland, OH 45140
                                                   Phone: 513.444.4100
                                                   Email: bankruptcy@sottileandbarile.com
                                                   Attorney for Movant
